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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JOHN McCRAY, Sr.,

 Defendants.                                               No. 05-CR-30027-DRH

                                       ORDER

 HERNDON, District Judge:

               On October 13, 2005, the Court held a status conference regarding

 McCray, Sr.’s legal representation. During the conference, the Court withdrew the

 CJA appointment of Steven Miller and informed McCray, Sr., that the Court would

 appoint a new CJA attorney to represent him. Thus, the Court APPOINTS Hank

 Branom, 9322 Manchester, St. Louis, Missouri 63119 to represent McCray, Sr., in

 this matter. Further, the Court ORDERS Assistant United States Attorney Jim

 Crowe to provide the discovery that he previously provided to Mr. Miller to Mr.

 Branom as soon as possible. The Court reminds the parties that this matter is set

 for jury trial on February 6, 2006.

               IT IS SO ORDERED.

               Signed this 14th day of October, 2005.



                                                    /s/        David RHerndon
                                                    United States District Judge
